
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 10th of July 2018 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to *295the North Carolina Court of Appeals: the notice of appeal is
"Dismissed by order of the Court in conference, this the 20th of September 2018."
Upon consideration of the petition filed on the 10th of July 2018 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 20th of September 2018."
